67 F.3d 586
    UNITED STATES of America, Plaintiff-Appellee,v.CORDOVA CHEMICAL CO. OF MICHIGAN, et al., Defendants-Appellants,CPC International, Inc., Defendant-Appellee,Arnold C. Ott, et al., Defendants,Michigan Dept. of Natural Resources, Defendant-Appellee.
    Nos. 92-2288/2326.
    United States Court of Appeals,Sixth Circuit.
    Oct. 19, 1995.
    
      Before:  MERRITT, Chief Judge;  KENNEDY, MARTIN, MILBURN, NELSON, RYAN, BOGGS, NORRIS, SUHRHEINRICH, SILER, BATCHELDER, DAUGHTREY, and MOORE, Circuit Judges.
    
    Prior report:  59 F.3d 584
    ORDER
    
      1
      A majority of the Judges of this Court in regular active service have voted for rehearing of this case en banc.  Sixth Circuit Rule 14 provides as follows:
    
    
      2
      The effect of the granting of a hearing en banc shall be to vacate the previous opinion and judgment of this court, to stay the mandate and to restore the case on the docket sheet as a pending appeal.
    
    
      3
      Accordingly, it is ORDERED that the previous decision and judgment of this court is vacated, the mandate is stayed and this case is restored to the docket as a pending appeal.
    
    
      4
      The Clerk will direct the parties to file supplemental briefs and will schedule this case for oral argument as soon as possible.
    
    